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                                 United States District Court
                                        EASTERN DISTRICT OF TEXAS
                                            SHERMAN DIVISION

      SHANNA GENESE WARREN                               §
                                                         § Civil Action No. 4:19-CV-302
      v.                                                 § (Judge Mazzant/Judge Nowak)
                                                         §
      COMMISSIONER, SSA                                  §

                                MEMORANDUM OPINION AND ORDER

             The Court, having reviewed Plaintiff Shanna Genese Warren’s Motion for Attorney’s Fees

      pursuant to the Equal Access to Justice Act (28 U.S.C. § 2412(d)(1)(A)) and Memorandum in

      Support Thereof (Dkt. #21) and the Commissioner’s Response (Dkt. #24), wherein the

      Commissioner does not object to the requested fee, finds that Plaintiff’s Motion is well taken and

      should be granted. Accordingly,

             It is therefore ORDERED that Plaintiff’s Motion (Dkt. #21) is GRANTED, and the

      Commissioner is directed to pay six thousand eight hundred seventy-five dollars and fifty-six cents

.     ($6,875.56) in attorney’s fees, plus court costs of four hundred dollars ($400.00), for a total award

      of seven thousand two hundred seventy-five dollars and fifty-six cents ($7,275.56). Payment shall

      be made payable to Plaintiff and mailed to Plaintiff’s counsel of record.

             IT IS SO ORDERED.

             SIGNED this 16th day of October, 2020.




                                            ___________________________________
                                            AMOS L. MAZZANT
                                            UNITED STATES DISTRICT JUDGE
